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     Attorney for Defendant
 5   SABRINA BUCHER
 6
 7
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
10
11 UNITED STATES OF AMERICA,
                                                        Case No. 08-CR-00554 WBS
12                  Plaintiff,

13 v.
                                                        STIPULATION AND [PROPOSED] ORDER
14                                                      FOR CONTINUANCE OF STATUS
     SABRINA BUCHER,                                    CONFERENCE
15
                    Defendants.
16
17
18
19                                              STIPULATION
20          Plaintiff, United States of America, by and through its counsel, Assistant United States
21   Attorney William S. Wong and defendant, Sabrina Bucher, by and through her counsel, Erin J.
22   Radekin, agree and stipulate to vacate the date set for status conference on September 27, 2010 at
23   8:30 a.m. and to reset such hearing on December 13, 2010 at 8:30 a.m. in the courtroom of the
24   Honorable William B. Shubb.
25          The reason for this request is that additional time is needed for the parties to discuss
26   resolution of this case. The Court is advised that Mr. Wong concurs with this request and has
27   authorized Ms. Radekin to sign this stipulation on his behalf.
28          The parties further agree and stipulate that the time period from the filing of this stipulation
     until December 13, 2010 should be excluded in computing time for commencement of trial under the
         Case 2:08-cr-00554-WBS Document 65 Filed 09/24/10 Page 2 of 2


 1   Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 2   Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 3   preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 4   outweigh the best interests of the public and the defendant in a speedy trial.
 5          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 6   IT IS SO STIPULATED
 7
     Dated: September 23, 2010                                BENJAMIN WAGNER
 8                                                            United States Attorney
 9                                                     By:          /s/ William S. Wong
                                                              WILLIAM S. WONG
10                                                            Assistant United States Attorney
11
12   Dated: September 23, 2010                                      /s/ Erin J. Radekin
                                                              ERIN J. RADEKIN
13                                                            Attorney for Defendant
                                                              SABRINA BUCHER
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15
                                                      ORDER
16
            For the reasons set forth in the accompanying stipulation and declaration of counsel, the
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     status conference date of September 27, 2010 at 8:30 a.m. is VACATED and the above-captioned
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     matter is set for status conference on December 13, 2010 at 8:30 a.m. The court finds excludable
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     time in this matter through December 13, 2010 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code
20
     T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
21
     preparation. For the reasons stipulated by the parties, the Court finds that the interest of justice
22
     served by granting the request outweigh the best interests of the public and the defendant in a speedy
23
     trial. 18 U.S.C. 3161(h)(7)(A), (h)(7)(B)(iv).
24
     IT IS SO ORDERED.
25
     Dated: September 23, 2010
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